 

Case 2:04-cv-08088-GPS-MAN Document 209 Filed 08/21/07 Page 1ofi1 Page ID #:106

 
 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA ae Ue
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CIVILMINUTES - GENERAL wt a
‘ Lil
Case No. CV_ 04-8088 GPS (MANx) Zz

Date :Auqust 21, 2007 -
CV_04-8457 GPS (MANx) “
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Title: Classic Concepts, Inc. v. Linen Source, Inc. . a
Classic Concepts, Inc. v. Hellenic Rug Imports, Inc.

 

 

 

 

PRESENT: THE HONORABLE GEORGE FP. SCHIAVELLI, JUDGE
Jake Yerke Rosalyn Adams

Courtroom Clerk Court Reporter
ATTORNEYS PRESENT FOR PLAINTIFFS: ATTORNEYS PRESENT FOR DEFENDANTS:
Surjit Soni Dennis Ellis
Danton Richardson Geoffrey Stover

y
DAY COURT TRIAL 8th DAY JURY TRIAL Jury impaneled and sworn.

(See separate list.)

Opening statements made by

 

K_ Witnesses called, sworn & testified.
x

 

 

 

 

Exhibits identified. x Exhibits admitted.

X__ Plaintiff(s) rests, X Defendant (s) rests.
_____. «Closing arguments made by Court instructs jury.
____ Bailiff/matron sworn. __ Jury Retires to deliberate. | Jury returns.
____s Jury Verdict in favor of ig read and FILED.
___. Jury polled. __ Polling waived. _____ FILED jury notes.

____. FILED witness and exhibit list(s). FILED jury instructions.
_____. JUDGMENT BY THE COURT in favor of is read and FILED.

 

Findings, Conclusions of Law & Judgment to be prepared by

 

_._ Submitted. _..__ Briefs to be filed by

_..__ Motion of to dismiss is ORDERED _.__ DENIED ____«~GRANTED
___-~ Motion of for judgment as a matter of law is = DENIED _——s« GRANTED
_____. Motion of for mistrial is | DENIED __ GRANTED.

MISTRIAL DECLARED,

Settlement reached and placed on the record.

 

 

 

 

 

Vie Cus
X Case continued to _Augqust 22, 2007 for _X further trial further jury
deliberations.
X_ Other: Court rules on various Motions by both parties. Ss 3

MINUTES FORM 11

Initials of Deputy Clerk JY
CIVIL - GEN :

 

 
